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 6 United States of America

 7                                IN THE UNITED STATES DISTRICT COURT

 8                                  EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                           CASE NO. 1:16-CR-00122-DAD

10                                 Plaintiff,            MOTION TO DISMISS INDICTMENT AGAINST
                                                         DEFENDANT JOSE DELATORRE; AND ORDER
11                          v.                           DISMISSING AND RELEASING DEFENDANT

12   JOSE DELATORRE,

13                                 Defendant.

14

15          The United States of America (“the government”), by and through McGregor W. Scott, United
16 States Attorney and Melanie L. Alsworth, Assistant United States Attorney, hereby moves this Court for

17 permission to dismiss without prejudice the indictment against Jose Delatorre in Case No. 1:16-CR-

18 00122-DAD.

19          Good cause exists to dismiss without prejudice the indictment against Jose Delatorre in the
20 interest of justice, as permitted by Fed. R. Crim. P. 48(a).

21          Therefore, the government moves for dismissal of the indictment against Jose Delatorre.
22                                                           MCGREGOR W. SCOTT
      Dated: September 4, 2018.                              United States Attorney
23
                                                             /s/Melanie L. Alsworth
24                                                           MELANIE L. ALSWORTH
                                                             Assistant United States Attorney
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         Case 1:16-cr-00122-DAD-BAM Document 263 Filed 09/05/18 Page 2 of 2


 1                                                 ORDER

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 3         To serve the interest of justice, pursuant to the government’s motion and Federal Rule of

 4 Criminal Procedure 48(a), the indictment pending against JOSE DELATORRE in Case Number 1:16-

 5 CR-00122-DAD shall be DISMISSED without prejudice, and the defendant is hereby ordered released

 6 from custody forthwith.

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     IT IS SO ORDERED.
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       Dated:    September 4, 2018
                                                     UNITED STATES DISTRICT JUDGE
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